                                Case 20-11465-KBO                   Doc 1       Filed 06/02/20             Page 1 of 18


 Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

 Case number (if known)                                                     Chapter     11
                                                                                                                         E   Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtors name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                 OptiScan Biomedical Corporation


2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4.   Debtors address              Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  24590 Clawiter Road
                                  Hayward, CA 94545
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Alameda                                                       Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.optiscancorp.com


6.   Type of debtor
                                  • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  E   Partnership (excluding LLP)
                                  13 Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 1
                                 Case 20-11465-KBO                      Doc 1         Filed 06/02/20              Page 2 of 18

Debtor    OptiScan Biomedical Corporation                                                              Case number (1 known)
          Name


7.   Describe debtors business         A. Check one;
                                       El   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101 (44))
                                       D    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       D    Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                       •    None of the above

                                       B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       D    Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http:llwww.uscourts.qovlfour-diqit-national-association-naics-codes.
                                                5417


8.   Under which chapter of the        Check one;
     Bankruptcy Code is the
     debtor filing?
                                       E    Chapter 7
                                       O    Chapter 9

     A debtor who is a "small        •      Chapter 11 Check all that apply:
     business debtor" must check
     the first sub-box. A debtor as
                                                            0    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     "small business debtor) must                           0    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, followthe procedure in 11 U.S.C. § 1116(1)(B).
                                                            0    A plan is being filed with this petition.
                                                            0    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            0    The debtor is required to file periodic reports (for example, 10K and 100) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            0    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       0    Chapter 12


9.   Were prior bankruptcy             • No.
     cases filed by or against
     the debtor within the last 8      0 Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                   When                               Case number
                                                 District                                   When                               Case number


10. Are any bankruptcy cases           0N
     pending or being filed by a
     business partner or an            0 Yes.
     affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                   Relationship

                                                 District                                   When                          Case number, if known



Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                               Case 20-11465-KBO                       Doc 1       Filed 06/02/20              Page 3 of 18

Debtor   OptiScan Biomedical Corporation                                                            Case number (if known)
         Name


11. Why is the case filed in     Check all that apply:
    this district?
                                 •      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                 El     A bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       INo
     have possession of any
                                            Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     real property or personal   U Yes.
     property that needs
     immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            U It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?

                                            O It needs to be physically secured or protected from the weather.
                                            0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            0 Other
                                            Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                            El No
                                            0 Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                          • Funds will be available for distribution to unsecured creditors.

                                         U After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          01-49                                            0 1,000-5,000                              o 25,001-50,000
    creditors                    1150-99                                          0 5001-10,000                              O 50,001 -100,000
                                 111111100-199                                    0 10,001-25,000                            0 More thanlo0,000
                                 0200-999


15. Estimated Assets             o $o - $50,000                                   U $1,000,001 -$10 million                  O $500,000,001 - $1 billion
                                 E] $50,001 - $100,000                             • $10,000,001 - $50 million               0 $1,000,000,001 -$10 billion
                                 o $100,001 -$500,000                             o $50,000,001 - $100 million               0 $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                          o $100,000,001 -$500 million               0 More than $50 billion

16. Estimated liabilities        0 $0 - $50,000                                   o $1,000,001 -$10 million                  0 $500,000,001 - $1 billion
                                 0 $50,001 -$100,000                              • $10,000,001 - $50 million                0 $1,000,000,001 -$10 billion
                                 0 $100,001 -$500,000                             o $50,000,001 -$100 million                0 $10,000,000,001 - $50 billion
                                 0 $500,001 - $1 million                          o $100,000,001 -$500 million               0 More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                                Case 20-11465-KBO                    Doc 1         Filed 06/02/20              Page 4 of 18

Debtor    OptiScan Biomedical Corporation                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 1, 2020
                                                   M./ DD / YYYY


                                                                                                         Patrick Nugent
                                 Signature of authorized represent      'e of debtor                     Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X     1 07                                                                    Date June 1, 2020
                                 Signature of attorney for debtor                                               MM I DD / YYYY

                                 David P. Primack Esquire
                                 Printed name

                                 McElroy Deutsch Mulvaney & Carpenter, LLP
                                 Firm name

                                 300 Delaware Avenue, Suite 770
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-300-4515                  Email address      dprimack@mdmc-law.com


                                   4449 - Delaware
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                  RESOLUTIONS OF
                              THE BOARD OF DIRECTORS
                                        OF
                         OPTISCAN BIOMEDICAL CORPORATION

                                           May 28, 2020

        The board of directors (the "Board") of OptiScan Biomedical Corporation, a Delaware
corporation (the "Company"), hereby agree that a meeting on May 28, 2020 was held, and the
Board consented to, adopted and approved the following resolutions and each and every action
effected thereby (the "Board Consent"):

       WHEREAS, the Board has considered presentations by the management and the
financial and legal advisors of the Company regarding the liabilities and liquidity situation of the
Company, the strategic alternatives available to it, and the effect of the foregoing on the
Company's business;

        WHEREAS, the Board of the Company has consulted with the management and the
financial and legal advisors of the Company and fully considered each of the strategic
alternatives available to such Company; and

       WHEREAS, in light of the foregoing, the Board has determined that it is desirable and in
the best interest of the Company to cause to be filed a petition by the Company seeking relief
under the provisions of Chapter 11 of Title 11 of the United States Code (the "Bankruptcy
Code") on or after May 28, 2020.

       NOW, THEREFORE, BE IT

Filing and Prosecution of Bankruptcy Case

        RESOLVED, that it is desirable and in the best interest of the Company to authorize the
chief executive officer, the chief financial officer or any other officer of the Company (each, an
"Authorized Officer" and collectively, the "Authorized Officers") to cause to be filed a petition
in the name of the Company (the "Chapter I I Petition") seeking relief under the provisions of
Chapter II of the Bankruptcy Code: and it is further

      RESOLVED, that the Board shall authorize and direct Authorized Officer, acting on
behalf of the Company, to execute and verify the Chapter 11 Petition and to cause the same to be
filed in the United States Bankruptcy Court for the District of Delaware (the "Bankruptcy
Court"), in such form and at such time as he shall determine on or after May 28, 2020; and it is
further

      RESOLVED, that Authorized Officer, acting on behalf of the Company, hereby is
authorized to execute and file (or direct others to do so on behalf of the Company as provided
herein) all necessary documents, including, without limitation, all petitions, affidavits, schedules,
motions, lists, applications, pleadings and other papers, and in connection therewith, to employ
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and retain all assistance by legal counsel, accountants or other professionals and to take any and
all action deemed necessary and proper in connection with the Chapter 11 case; and it is further

Employment of Professionals

      RESOLVED, that the law firm of McElroy, Deutsch, Mulvaney & Carpenter, LLP
("MDMC") be, and hereby is, employed under general retainer as bankruptcy counsel for the
Company in the Chapter I case, and Authorized Officer, acting on behalf of the Company, is
hereby authorized and directed to execute appropriate retention agreements, direct payment of
appropriate retainers in substantially the amounts previously discussed by the Board prior to and
immediately upon the filing of the Chapter 11 case, and cause to be filed an appropriate
application for authority to retain the services of MDMC; and it is further

      RESOLVED, that Authorized Officer, acting on behalf of the Company, is hereby
authorized and directed to employ any other firm as professionals or consultants to the Company
as are deemed necessary to represent and assist the Company in carrying out its duties under the
Bankruptcy Code and, in connection therewith, Authorized Officer, acting behalf of the
Company, is hereby authorized and directed to execute appropriate retention agreements, direct
payment of appropriate retainers prior to and after the filing of the Chapter II case and cause to
be filed appropriate applications for authority to retain the services of such firm; and it is further

Authorization to Pursue DIP Financing

       RESOLVED, that Authorized Officer, acting on behalf of the Company, is hereby granted
full authority to continue ongoing discussions to obtain debtor in possession financing on terms
that are reasonable under the circumstances, as determined in consultation with the Company's
professionals and advisors, and, subject to Bankruptcy Court approval, to enter into a debtor in
possession credit agreement and such other ancillary agreements, documents, and instruments
relating thereto; and it is further

General Authorizing Resolutions

      RESOLVED that Authorized Officer, acting on behalf of the Company, is hereby granted
full authority to act in the name of and on behalf of the Company, under the Company's seal or
otherwise, to make, enter into, execute, deliver and file any and all other or further agreements,
documents, certificates, materials and instruments, to disburse funds of the Company, to take or
cause to be taken any and all other actions, and to incur all such fees and expenses deemed to be
necessary, appropriate, or advisable to carry out the purposes of the foregoing resolutions and the
transactions contemplated thereunder and/or to successfully complete the Chapter ii case, the
taking of any such action to constitute conclusive evidence of the exercise of such discretionary
authority; and it is further

      RESOLVED, that all acts lawfully done or actions lawfully taken by the Officers,
Directors and/or Board to seek relief under Chapter 11 of the Bankruptcy Code or in connection
with the Chapter II case, or any matter related thereto, be, and hereby are, adopted, ratified,
confirmed and approved in all respects as the acts and deeds of the Company; and it is further
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      RESOLVED, that Authorized Officer, acting on behalf of the Company, is authorized,
empowered and directed to certify and attest any documents or materials deemed necessary,
desirable, or appropriate to consummate the transactions contemplated by the foregoing
resolutions; and it is further

      RESOLVED, that all actions heretofore taken by the Company. the Officers, the
individual Directors, the Board, and other authorized representative of the Company with respect
to the foregoing transactions and all other matters contemplated by the foregoing resolutions that
require approval by the Board are hereby in all respects, approved, adopted, ratified, and
confirmed.


Resolutions were adopted by the requisite majority of the Board on May 28, 2020


                                                     /s/ Patrick Nugent
                                                    CFO and Company Assistant Secretary
                            Case 20-11465-KBO Doc
DocuSign Envelope ID: 511 D2634-62EF-4AC5-BE52-CFD56E48C9E2   1    Filed 06/02/20   Page 8 of 18




                    This action by written consent shall be effective as of the date the Company receives the
            requisite consent of the Company's stockholders. By executing this action by written consent,
            each undersigned stockholder is giving written consent with respect to all shares of the
            Company's capital stock held by such stockholder in favor of the above resolutions. This action
            by written consent may be executed in any number of counterparts, each of which shall
            constitute an original and all of which together shall constitute one action. Any copy, facsimile
            or other reliable reproduction of this action by written consent may be substituted or used in lieu
            of the original writing for any and all purposes for which the original writing could be used,
            provided that such copy, facsimile or other reliable reproduction is a complete reproduction of
            the entire original writing. This action by written consent shall be filed with the minutes of the
            proceedings of the stockholders of the Company.


                                                    STOCKHOLDER:

                                                    HERCULES CAPITAL, INC.
                                                          ç--DocuSigned by:


                                                    By:
                                                               zhLIo Huang
                                                    Name:

                                                    Title:    Associate General Counsel
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        This action by written consent shall be effective as of the date the Company receives the
requisite consent of the Company's stockholders. By executing this action by written consent,
each undersigned stockholder is giving written consent with respect to all shares of the
Company's capital stock held by such stockholder in favor of the above resolutions. This action
by written consent may be executed in any number of counterparts, each of which shall
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provided that such copy, facsimile or other reliable reproduction is a complete reproduction of
the entire original writing. This action by written consent shall be filed with the minutes of the
proceedings of the stockholders of the Company.


                                      STOCKHOLDER:

                                      PMVL SUCRO LTD


                                      By:

                                     Name: FARES ZAHIR

                                      Title: DIRECTOR


                                      MIF SUCRO LTD


                                      By:

                                     Name: FARES ZAHIR

                                      Title: DIRECTOR
                          Case 20-11465-KBO              Doc 1
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                     This action by written consent shall be effective as of the date the Company receives the
             requisite consent of the Company's stockholders. By executing this action by written consent,
             each undersigned stockholder is giving written consent with respect to all shares of the
             Company's capital stock held by such stockholder in favor of the above resolutions. This action
             by written consent may be executed in any number of counterparts, each of which shall
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             or other reliable reproduction of this action by written consent may be substituted or used in lieu
             of the original writing for any and all purposes for which the original writing could be used,
             provided that such copy, facsimile or other reliable reproduction is a complete reproduction of
             the entire original writing. This action by written consent shall be filed with the minutes of the
             proceedings of the stockholders of the Company.


                                                        STOCKHOLDER:

                                                        WEXFORD SPECTRUM TRADING LIMITED
                                                                        ,—DooSignod by:



                                                         By:            '-831B46A98CE0499..



                                                        Name:    Arthur Amron

                                                        Title: Vice President and Assistant Secretary


                                                        SPECTRUM INTERMEDIATE FUND LIMITED
                                                                         ,--DocuSIgn.d by:



                                                        By:               —631 B46Ay8CE0499...



                                                        Name: Arthur Amron

                                                        Title: Vice President and Assistant Secretary


                                                        WEXFORD PARTNERS INVESTMENT CO. LLC
                                                                         ,----DoSignd by:


                                                        By:
                                                        Name: Arthur Amron

                                                        Title: Vice President and Assistant Secretary




                                                                                                              Approved by: P. Mieyal
                             Case 20-11465-KBO
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                    This action by written consent shall be effective as of the date the Company receives the
            requisite consent of the Company's stockholders. By executing this action by written consent,
            each undersigned stockholder is giving written consent with respect to all shares of the
            Company's capital stock held by such stockholder in favor of the above resolutions. This action
            by written consent may be executed in any number of counterparts, each of which shall
            constitute an original and all of which together shall constitute one action. Any copy, facsimile
            or other reliable reproduction of this action by written consent may be substituted or used in lieu
            of the original writing for any and all purposes for which the original writing could be used,
            provided that such copy, facsimile or other reliable reproduction is a complete reproduction of
            the entire original writing. This action by written consent shall be filed with the minutes of the
            proceedings of the stockholders of the Company.


                                                      STOCKHOLDER:

                                                      WEXFORD SPECTRUM FUND, L.P.
                                                      By: Wexford Spectrum Advisors, L.P., its general partner
                                                      By: Wexford Spectrum Advisors CP LLC, its general partner

                                                                          ç—DooSigned by



                                                      By:                 '



                                                      Name: Arthur Amron

                                                      Title: Vice President and Assistant Secretary




                                                                                                 Approved by: P. Mieyal
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        This action by written consent shall be effective as of the date the Company receives the
requisite consent of the Company's stockholders. By executing this action by written consent,
each undersigned stockholder is giving written consent with respect to all shares of the
Company's capital stock held by such stockholder in favor of the above resolutions. This action
by written consent may be executed in any number of counterparts, each of which shall
constitute an original and all of which together shall constitute one action. Any copy, facsimile
or other reliable reproduction of this action by written consent may be substituted or used in lieu
of the original writing for any and all purposes for which the original writing could be used,
provided that such copy, facsimile or other reliable reproduction is a complete reproduction of
the entire original writing. This action by written consent shall be filed with the minutes of the
proceedings of the stockholders of the Company.


                                      STOCKHOLDER:

                                      CHARTLINE CAPITAL NAVIGATOR FUND L.P.


                                      By:

                                     Name: Phillip B. Stern

                                      Title:    Managing Director
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 Fill in this information to identi the case:
 Debtor name OptiScan Biomedical Corporation
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     0 Check if this is an

 Case number (if known):                                                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
Altman Consulting                                                                                                                                                         $39,068.75
LLC
3 Acacia Lane
Redwood City, CA
94062
Baker Boils LLP                                                                                                                                                           $63,590.62
P.O. Box 301251
Dallas, TX
75303-1252
BioBrit LLC                                                                                                                                                               $27,045.45
2223 Avenida de la
Playa #108
La Jolla, CA 92037
BMV Direct II LP                                                                                                                                                        $270,466.98
17190 Bernardo
Center Drive
San Diego, CA
92128-7030
Cello Health Insight,                                                                                                                                                     $91,935.00
Inc.
264 West 40th Street
16th Floor
New York, NY 10018
Chartline Capital                                                                                                                                                       $189,868.27
Navigator Fund, L.P.
do Phillip B. Stern,
Managing Director
1105 N. Market
Street, Ste. 1800
Wilmington, DE
19801
CVF, LLC                                                                                                                                                                $370,342.44
222 N. LaSalle Street
Ste. 2000
Chicago, IL 60601
Gilroy Plastics, Inc.                                                                                                                                                     $30,068.46
P.O. Box 1602
Gilroy, CA 95021

Official form 204                                Chapter 11 or Chapter 9 Cases: List of creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor     OptiScan Biomedical Corporation                                                                    Case number (if known)
            Name

 Name of creditor and      Name, telephone number Nature of claim                         Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                      is contingent,     If the claim is fully unsecured, fill in Only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                      unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                      disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                              Total claim, if            Deduction for value        Unsecured claim
                                                                                                              partially secured          of collateral or setoff
Hercules Capital,                                                                                                                                                        $407,787.78
Inc.
400 Hamilton Ave.
Suite 310
Palo Alto, CA 94301
Hyman, Phelps &                                                                                                                                                            $29,690.00
McNamara
700 Thirteenth St.,
NW
Washington, DC
20005
KMOB                                                                                                                                                                       $58,199.20
2040 Main Street
Fourteenth Floor
Irvine, CA 92614
MIF Sucro Ltd                                                                                                                                                            $463,936.10
do Xeraya Capital
Sdn. Bhd.
Lot 26.03-26.08
Level 26, Gtower
No. 199 Jalan Tun
Razak 50400 Kuala
Lumpur, Malaysia
Nelson Laboratories                                                                                                                                                        $33,188.00
29471 Network
Place
Chicago, IL
60673-1294
NGN OptiScan Fund                                                                                                                                                        $426,563.78
Ill LP
60 Long Ridge Road
Ste 402
Stamford, CT 06902
Omnify Software,                                                                                                                                                           $52,084.37
Inc.
Dept. 0542
P0 Box 120542
Dallas, TX
75312-0542
Outcome Capital,                                                                                                                                                           $30,545.33
LLC
11921 Freedom Dr.
Reston, VA 20190
PMVL Sucro Ltd                                                                                                                                                           $463,935.74
do Xeraya Capital
Sdn. Bhd.
Lot 26.03-26.08
Level 26, Gtower
No. 199, Jalan Tun
Razak 50400 Kuala
Lumpur, Malaysia



Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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Debtor     OptiScan Biomedical Corporation                                                                    Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                         Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                      is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                      unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                      disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                             Total claim, if            Deduction for value        Unsecured claim
                                                                                                             partially secured          of collateral or setoff
Washington                                                                                                                                                                $38,241.00
University School of
Medicine
660 S. Euclid Ave.
Campus Box 8009
Saint Louis, MO
63110-1010
Wexford Partners                                                                                                                                                      $1,253,742.96
Investment Co. LLC
411 West Putnam
Ave.
Ste. 125
Greenwich, CT
06830
Wexford Spectrum                                                                                                                                                      $1,107,795.15
Trading Limited
411 West Putnam
Avenue
Ste. 125
Greenwich, CT
06830




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                  page 3


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Fill in this information to identify the case:

Debtor name          OptiScan Biomedical Corporation

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                  O Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule NB: Assets—Real and Personal Property (Official Form 206AIB)
                  Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        O         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        0         Schedule H: Codebtors (Official Form 206H)
        0         Summary of Assets and Liabilities for Non-Individuals (Official Form 2065um)
        O         Amended Schedule
        •         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        0         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true
                                                                   ect.
                                                                     and"

        Executed on         June 1, 2020                             X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Patrick Nugent
                                                                         Printed name

                                                                         Chief Financial Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                            United States Bankruptcy Court
                                                                   District of Delaware
 In re      OptiScan Biomedical Corporation                                                   Case No.
                                                                           Debtor(s)          Chapter    11




                                          CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for OptiScan Biomedical Corporation in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporations(s) equity interests, or states that there are no entities to report under FRBP 7007.1:
MIF Sucro Ltd
 do Xeraya Capital Sdn. Bhd.
Lot 26.03-26.08 Level 26, Gtower
No. 199 Jalan Tun Razak
50400 Kuala Lumpur, Malaysia
PMVL Sucro Ltd
do Xeraya Capital Sdn. Bhd.
Lot 26.03-26.08 Level 26, Gtower
No. 199 Jalan Tun Razak
50400 Kuala Lumpur, Malaysia
Spectrum Intermediate Fund Limited
411 West Putnum Ave.
Ste. 125
Greenwich, CT 06830
Wex SP LLC
411 West Putnum Ave.
Ste. 125
Greenwich, CT 06830
Wexford Partners Investment Co LLC
411 West Putnum Ave.
Ste. 125
Greenwich, CT 06830
Wexford Spectrum Fund, L.P.
do  Wexford Capital LP
411 West Putnum Ave.
Ste. 125
Greenwich, CT 06830
Wexford Spectrum Investors, LLC
411 West Putnum Avenue
Ste. 125
Greenwich, CT 06830




0 None [('heck if applicable]


                                              (SIGNATURE BLOCK ON FOLLOWING PAGE}




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Dated: June 1, 2020            McELROY, DEUTSCH, MULVANEY & CARPENTER, LLP




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                               300 Delaware Ave., Ste. 770
                               Wilmington, DE 19801
                               Telephone: (302) 300-4515
                               Facsimile: (302) 654-4031
                               E-mail: dprimack@mdmc-law.com
